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     Shari Rusk, Bar No. 170313
 1   Attorney at Law
     PO Box 188945
 2   Sacramento, California 95818
     Tel: (916) 804-8656
 3   Fax: (916)443-1165
     Email: Rusklaw@comcast.net
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 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                              ) Case No.: CR.S. 13-326 MCE
     United States of America,                  )
 9                                              ) STIPULATION REGARDING EXCLUDABLE TIME
                  Plaintiff,                    ) PERIODS UNDER SPEEDY TRIAL ACT; ORDER
10                                              )
           vs.                                  ) Court: Hon. Morrison C. England
11                                              ) Time:     9:00 a.m.
                                                ) Date:     August 28, 2014
12   Robert Vargas,et.al.                       )
                                                )
13                Defendants.

14

15                                         STIPULATION

16
           Plaintiff United States of America, by and through its counsel of record, and
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     defendants, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on July 31, 2014 and
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                  advanced by the Court to July 24, 2014.
20         2.     On July 22, 2014 both defendants were arraigned on a superceding

21                indictment alleging higher drug quantities and adding a 924(c) count –

22                use of a firearm during a drug trafficking offense and a 922(g) count –

23                felon in possession of a firearm.

           2.     By this stipulation, defendants now moves to continue the status
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     conference until August 28, 2014 and to exclude time between July 22, 2014 and August
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     28, 2014 under Local Code T4.   Plaintiff does not oppose this request.
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           3.     The parties agree and stipulate, and request that the Court find the
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     following:
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           a.     The government has provided discovery including investigative reports and




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     related documents in electronic form, audio and videotapes and local law enforcement
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     and other witnesses and photographs.
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           b.     Counsel for defendants requires additional time to investigate
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     allegations related to the newly charged gun counts.
 4         c.     Counsel for defendant believes that failure to grant the above-requested

 5   continuance would deny them the reasonable time necessary for effective preparation,

 6   taking into account the exercise of due diligence.

 7         d.     The government does not object to the continuance.

           e.     Based on the above-stated findings, the ends of justice served by
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     continuing the case as requested outweigh the interest of the public and the
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     defendants in a trial within the original date prescribed by the Speedy Trial Act.
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           f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
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     3161, et seq., within which trial must commence, the time period of July 22, 2014 to
12   August 28, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),

13   B(iv) [Local Code T4] because it results from a continuance granted by the Court at

14   defendant’s request on the basis of the Court's finding that the ends of justice

15   served by taking such action outweigh the best interest of the public and the

     defendants in a speedy trial.
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           4.     Nothing in this stipulation and order shall preclude a finding that other
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     provisions of the Speedy Trial Act dictate that additional time periods are excludable
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     from the period within which a trial must commence.
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     IT IS SO STIPULATED.
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     Dated: July 23, 2014             Respectfully submitted,
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                                             __/s/ Shari Rusk___
22
                                             Shari Rusk
                                             Attorney for Defendant
23
                                             Robert Vargas
24
                                             /s/ Dan Koukal_________
25
                                             Dan Koukal
                                             Attorney for Defendant
26
                                             Robert Guerena
27
                                             /s/ Olusere Olowoyeye
28                                           Olusere Olowoyeye
                                             Assistant United States Attorney




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 1                                          ORDER

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 3            The Court finds excludable time through August 28, 2014, based on Local

 4   Code T4, giving counsel reasonable time to prepare.

 5            IT IS SO ORDERED.

 6   Dated:     July 25, 2014

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